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                                                 18tJ.s.c.j371                        /! h.(t.o w o h
                                                 42U.S.C.j1320a-7b(b)(1)(A)
                                                 18U.S.C.j2
                                                 18U.S.C.j982(a)(7)


           U NITED STATE S O F AM EW CA

           VS.

           G REG OR Y OR R,

                                  D efendant.
                                                 /
:
                                                   IN FO RM ATIO N

                   '
                   I'
                    heActingUnited StatesAtlorney chargesthat:

                                            GENERAL ALLEGATIONS

                   Ata11tim esm aterialto tlzis lnform ation;

                                                  M edicare Prozram

                           r
                           fheMedicazeProgram (GsM edicare'')wasafederallyfnndedprogram thatprovided
           free oz below-costhealth care benefts to certain individuals,prlmarily the elderly,blind,and

            disabled.ThebenefitsavailableunderM edicazew eregovernedby federalstam tesandregulations.

           TheUnited StatesDepartmentofHealth alldHllman Services(6CHHS''),through itsagency,the
            CentersforM edicare and M edicaid Services CCM S''),oversaw and administered M edicare.
            Individuals who received benefits lm der M edicare w ere com m only referred to as M edicare

            (Gbenefciaries-''
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                M edicarewasaGçhealth carebenefitprogram ,''asdefined byTitle 18,United States

  Code,Section 24(b)and atTederalhealth careprogrnm,''asdefined by Title42,United States
  Code,Section 1320a-7b(9.
                M edicare covered differenttypes of benefits,w hich were separated into different

  progrnm ûûparts.''M edicareITG A''coveredhealth servicesprovidedby hospitals,sldllednursing

  facilities,hospices and hom e health agencies. M edicare IT aI'tB''covered,am ong other things,

  medicalservicesprovided by physicians,m edicalclinics,laboratodes and otherqualified health

  care providers,such as office visits,minorsurgicalprocedtlres,and laboratory testing,thatwere

  medically necessary and ordered by licensed m edical doctors or other qualifed health care

  providers.

         4.     Physicians, clinics and other health care providers,including laboratolies,that

  providedservicestobeneficiarieswereableto apply forand obtain alGprovidernlzmber.''A health

  careproviderthatreceived aM edicareprovidermlm berwasable to fileclaim swith M edicareto

  obtain reim bursem entforservicesprovided tobeneficiariçs.

         5.     A M edicareclaim w asrequiredtocontain certain im portantinform ation,including'
                                                                                               .

  (a)thebeneficiaty'snameandHea1thlnsuranceClaim Number(:GH1CN'');(b)adescriptionofthe
  healthcarebenefit,item,orservicethatwasprovidedorsuppliedtothebeneficiary;(c)thebilling
  codesforthebenefit,item,orservice;(d)thedateupon which thebenefit,item,orservicewas
  providedorsuppliedtothebeneticiary;and(e)thennmeoftherefeningphysicianorotherhealth
  care provider, as w ell as a llnique identifying nllm ber,knom l either as the U nique Physician

  IdentificationNumber(ç&UP1N'')orNationalProviderldentifierCW PI''). Theclaim form could
  besubmitted in hard copy orelectronically.
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                               PartB Coveraee and R ezulations

                CM S acted through fiscal agents called M edicare adm inistrative contractors

  (1CMACs''),which werestatutory agentsforCM S forM edicarePartB.TheM ACSwereprivate
  entities that reviewed claim s and made payments to providers for services rendered to

  benefciaries. The M A CSwere responsible forprocessing M edicare claim s arising within their

  assigned geographicalarea,including determining whethertheclaim wasforacovered service.

                NovitasSolutionslnc.(GçNbvitas'')w>sthe MAC fortheconsolidated Medicare
  jurisdictionsthatcoveredLouisiana,M ississippi,Oldahoma,Texas,andPermsylvnnia.Palmetto
  GBA tlTalmetto''lwas the M AC for the consolidated M edicare judsdictions that included
  Georgia,Alabam a,Tezm essee,South Carolina,North Carolina,Virginia,andW estVirgillia.

                To receiveM edicarereim bursem ent,providershad to m ake appropriateapplication

  to the M AC and execute a written provider agreem ent. The M edicare provider enrollment

  application,CM S Form 8558,was required to be signed by an authorized representative ofthe

  provider. CM S Form 8558 contained a certification thatstated:

                1agree to abide by the M edicare laws,regulations,and progrnm
                instnzctions that apply to this provider. The M edicare law s,
                regulations, and program instructions are available through the
                M edicare contractor. l tm derstand that paym ent of a claim by
                M edicare is conditioned upon the claim and the tmderlying
                transaction complying with such laws,regulations and program
                instnlctions(including,butnotlimitedto,thefederalanti-ldckback
                statuteandtheStarklaw),andontheprovider'scompliancewitha1l
                applicable conditions ofparticipation in M edicare.

                CM S Form 8558 contained additionalcertifications thatthe provider tGwillnot

  knowingly present or cause to be presented a false or fraudulentclaim forpaym entby M edicare
                                                                      !
  andwillnotsubm itclaim swithdeliberateignoranceorrecldessdisregard oftheirtnlth orfalsity.''
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                Paym ents tm der M edicare Part B w ere oflen m ade directly to the health care

  providerratherthan to thepatientorbeneficiary. Forthisto occlzr,thebeneficiary w ould assign

  the rightofpaym entto the health care provider. Once such an assignm enttook place,the health

  care providerwould asstlme theresponsibility forsubm itting claim sto,and receiving paym ents

  from ,M edicare.

                                      Cancer Genom icTests

                Cancergenomic (tûCGx'')testing used DNA sequencing to detectmutations in
  genes thatcould indicate a higherrisk of developing certain types of cancers in the future. CGx

  testingwasnotam ethodofdiagnosing whetheran individualpresently had cancer.

                M edicare did notcoverdiagnostic testing thatwasGtnotreasonable and necessary

  forthediagnosisortreatmentofillnessorinjury orto improvethefllnctioning ofamalformed
  bodymember.''Title42,UnitedStatesCode,Section 1395y(a)(1)(A).Exceptforcertainstatutory
  exceptions,M edicare did notcoverGtexnminationsperform ed forapurpose otherthan treatm ent

  ordiagnosisofa specific illness,symptoms,complaintorinjury.'' Title 42,Code ofFederal
  Regulations,Section 411.15(a)(1). Among the statmory exceptionscovered by M edicarewere
  cancer screening tests such as lçscreening m am m ography, colorectal cancer screening tests,

  screeningpelvicexams,gand)prostatecancerscreeningtests.''1d
                Ifdiagnostictestingwasnecessaryforthediagnosisortreatmentofillnessorinjury
  or to improve the functioning of a malform ed body m ember,M edicare im posed additional

  requirementsbeforecoveringthetesting.Title42,CodeofFederalRegulations,Section410.32(a)
  provided,1GA1ldiagnostic x-ray tests,diagnostic laboratory tests,and other diagnostic testsm ust

  be ordered by the physician w ho istreating the beneficiary,thatis,the physician w ho furnishes a

  consultation ortreatsa beneficiary fora specific m edicalproblem and w ho usesthe results in the
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  m anagementofthebeneficiary'sspecificmedicalproblem .''CT estsnotordered by thephysician

  who istreating thebenefk iary arenotreasonableandnecessary.''1d

                  Because CGx testing did notdiagnosecancer,M edicareonly covered suchtestsin

  lim ited circllm stances, such as w hen a beneficiary had cancer and the beneticiary's treating

  physician deem ed such testing necessary forthe beneficiary'streatmentofthatcancer. M edicare

  didnotcoverCGxtestingforbeneficiarieswho didnothavecancerorlacked symptom sofcancer.

                                          T elem edicine

                  Telem edicine provided a m eans of corm ecting patients to doctors by using

  telecom municationstechnology,such astheintem etortelephone,to interactwith apatient.

         16.      Telem edicine companies provided telemedicine or ç%e1ehealth sel-vices'' to

  individualsby hiring doctors and otherhealth care providers. Telem edicine com paniestypically

  paid doctors a fee to conduct consultations with patients. In order to generate revenue,

  telem edicine companiestypically eitherbilled insurance orreceived paym entfrom patientswho

  utilized the servicesofthetelem edicinecompany.

                  M edicare PartB covered expenses for specified te1ehea1th services if certain

  requirementsweremet.Theserequirementsincludedthat(a)thebeneficiarywaslocatedinalmral
  orhealthprofessionalshortageazea;(b)selwicesweredeliveredviaaninteractiveaudioandvideo
  telecommllnicationssystem;and (c)thebeneficialy wasin apractitioner'sofficeora specified
  m edical facility- not at a beneficiary's hom e--during the telehea1th service with a remote

  practitioner.

                       The D efendantand R elated Individualsand Entities

         18. Labsolutions,LLC,(ttabsolutions''),a company organized tmderthe laws of
  G eorgia and authorized to provide services in Florida,w as a laboratory thatpurportedly provided
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  CGxtesting to beneficiaries.Labsolutionsheldan accotmtending in 5953 atBranch Banlcing and

  TnlstCompany(:%B&T'')(KtabsolutionsAccounf').
         19.    Com pany 1wasalim itedliability company form ed underthelawsofFlorida,with

  itsprincipalplaceofbusinessin Palm Beach Cotlnty.Company 1held an accountending in 3390

  atW ellsFargoBnnk,N.A.(ççW e11sFargo'')(Gçcompal'
                                                  ly 1Accounfl.
                Defendant GREGORY ORR,a resident of Palm Beach County,Florida was a

  padnerin Com pany 1.

                Individual 1,a resident of Palm Beach County,Florida,was the m anager and

  registered agentofCompany 1and wasGREGORY ORR'Spartnerin Company 1.

         22.    Company 2wasalim ited liability company fonnedtmderthelawsofFlodda,with

  itsprincipalplace ofbusinesslocated in Brow ard County. Company 2held a!laccolmtendingin

  1291atBB&T (Gtcompany 2Accounf').
                lndividual2,aresidentofBroward County,Florida,wasthem anagerandregistered

  agentofCompany 2.

                                           CO UN T 1
                   Conspiracy to Solicit and R eceive H ealth C are K ickbacks
                                          (18U.S.C.j371)
                The GeneralA llegations section ofthis Infbnnation is re-alleged and incorporated

  by reference asthough fully setforth herein.

         2.     From in oraroundM arch 2017,and continuing tllrough in oraroundJanuary 2020,

  in Palm Beach County,in the Southern DistrictofFlorida,and elsewhere,the defendarlt,

                                       G R EG O R Y O R R ,

  didknowilzglyandwillfully,thatis,withtheintenttofurthertheobjectoftheconspiracy,combine,
  conspire,confederate and agree with others,known and unknown to the Acting United States
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  A'
   ttorney,to com mitan offenseagainsttheUnited States,thatis,toviolateTitle42,United States

  Code, Section 1320a-7b(b)(1)(A), by soliciting and receiving remuneration, specifically,
  kickbacksand bribes,directly and indirectly,overtly and covertly,in cash and in kind,in ret'urn

  forrefeningindividualsforthefurnishingandarranging forthefurnishing ofany item andservice

  for w hich paym ent m ay be m ade in w hole or in partby a Federalhealth care progrnm ,that is,

  M edicare.

                                   Purpose ofthe C onspiracy

                lt w as a purpose of the conspiracy for the defendant and his co-conspirators to

  llnlawfully enrich themselvesby:(a)soliciting and receiving ldckbacksandbribesin retut'n for
  recruiting and refening M edicarebeneficiariesto Labsolutions;(b)submitting and causing the
  subntission ofclaim sto M edicare for CGx teststhatLabsolutionspurported to provide to those

  M edicarebeneficiaries;(c)concealingthepaymentand receiptofkickbacksandbribes;and (d)
  diverting proceedsfortheirpersonaluseand benefit,theuse and benefitofothersand to further

  the conspiracy.

                             M anner and M eans ofthe Conspiracv

         The m nnner and m eans by' which the defendant and his co-conspirators sought to

  accomplishtheobjectandpurposeoftheconspiracyincluded,nmongotherthings,thefollowing:
         4.     G R EG O R Y O R R and co-conspirators obtained access to thousands of M edicare

  beneficiariesby targeting them with telem arketing campaignsand inducing them to acceptCGx

  testsregardless ofm edicalnecessity.

                G R EG O R Y O RR r d co-conspirators obtained doctor's orders and other

  M edicare-required docum ents that w ould be used to support claim s to M edicare for the CGx

  testing (GGdoctor'sorders'')by paying telemedicine companieslcickbacks and bribes for orders
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  written by doctorswho contracted with the tdem edicine companies,even though those doctors
  werenottreating thebeneficiariesforcancerorsymptom sofcancer,didnotusethetestresultsin

  thetreatm entofthe beneficiaries,and didnotconductapropertelem edicinevisit.

                GREG ORY ORR andco-conspiratorssolicitedandreceived,atleast,$14,331,711
  in kickbacksand bribesfrom Labsolutionsin exchangeforrefening M edicarebçneficiaries and

  doctor'sordersto LabsolutionsforCGx testing.

                GREGORY ORR and co-conspirators entered into shnm contracts with

  Labsolutionsthatattem pted to disguisethelcickbacksand bribesaspaym entsf'
                                                                           rom Labsolutions

  forptuported m arketing services.

         8.     GREGORY ORR and co-conspirators caused Labsolutionsto submitfalse and

  fraudulentclaimsto M edicarein theapproxim ate amotmtof$45,038,467.
                As a result of these false and fraudulentclaim s,M edicare m ade paym ents to

  Labsolutionsin,atleast,theapproxim ateam otmtof$26,610,359.

                                           O vertA cts

         Infurtheranceoftheconspiracy,andtoaccomplishitsobjectandpurpose,atleastoneco-
  conspiratorconnmittedand causedtobecom mitted,in theSouthern DistrictofFlorida,atleastone

  ofthefollowing overtacts,nmong others:

                On oraboutDecember 14,2018,Labsolutionstransferred a kickback paym entof

  approximately $728,972 from theLabsolutionsAccotmttotheCompany 1Accotmt.
                On orabout D ecem ber 14,2018,Individual 1 transferred a kickback paym ent of

  approximately $220,000 from the Company 1AccotmttotheCompany 2 Accotmt.,
                On or aboutM ay 8,2019,GREGORY ORR and llis co-conspirators referred

  M edicr ebeneficiaryM .S.to LabsolutionsforCGx testing in exchangeforkickbacksand bribes.
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         4.      On or about Jtme 6,2019,Labsolutions subm itted a claim to M edicare in the

  approxim ate nmount of $7,115 for CGx testing purportedly provided by Labsolutions for

  beneficiary M .S.

         A11in violation ofTitle 18,United StatesCode,Section 371.

                                           C O UN T 2
             R eceiptofK ickbacksin C onnection w ith a FederalH eaIth Care Program
                                 (42 U.S.C.j1320a-7b(b)(1)(A))
                 The GeneralAllegationssection ofthisInformation isre-alleged and incorporated

  by reference asthough fully setfol'th herein.

         2.      On oraboutD ecem ber 14,2018,in Palm Beach County,in the Southem D istrictof

  Florida,and elsewhere,the defendant,

                                       G R E G O RY O RR ,

 did knowingly and willfully solicitand receive remuneration,including kickbacks and bribes,

 directly and indirectly,overtly and covertly,in cash and in ldnd,including by wire,as setforth

 below,in return for referdng an individualto a person forthe furnislling and arranging for the

 furnibhing ofany item andserviceforwhich paym entm ay bem adeinwholeorinpartby aFederal

 health careprogram,thatis,M edicare,assetforth below ;

      C ount           Approx.D ate of        A pprox.A m t.      D escription ofK ickback
                      K ickback Paym ent       ofK ickback                Paym ent
                                                 Pa m ent
         2               12/14/2018               $220,000     W iretransferfrom Company 1
                                                               A ccountto Com an 2 A ccotm t.


         InviolationofTitle42,UnitedStatesCode,Section 1320a-7b(b)(1)(A)andTitle18,
  United StatesCode,Section 2.
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                                         FORFEITURE
                                        (18U.S.C.j982)
                The allegations of this Inform ation are re-alleged and by this reference fully

  incorporated herein forpup oses ofalleging crim inalforfeitlzre to the United States of certain

  property in which thedefendanthasan interest.

                Upon conviction ofa violation ofTitle 42,United StatesCode,Section 1320a-7b

  oracrim inalconspiracy to comm itaviolation ofTitle42,United StatesCode,Section 1320a-7b,

  as alleged in Cotmts 1 and 2 ofthislnform ation,the defendantso convicted shallforfeitto the

  United Statesany property,realorpersonal,thatconstitutesoris derived,directly orindirectly,

  from grossproceedstraceabletothecom mission oftheoffense,ptlrsuanttoTitle 18,United States

  Code,Sedion982(a)(7).
                Theproperty subjecttoforfeitureincludes,butisnotlimitedto,thesum ofmoney
  equalin valueto thegrossproceedstraceable to the comm ission ofthe violation alleged in this

  Information,wlzich theUnited Stateswillseek asa forfeituremoneyjudgmentaspartofeach
  defendant'ssentence.

                Ifany ofthe propeo described above,as a result of atly act or om ission ofthe
  defendant:

                a. cnnnotbelocated upon theexerciseofdue diligence;

                b. hasbeen transferred orsoldto,ordeposited with athirdparty;

                c. hasbeenplacedbeyondthejurisdictionofthecourt;
                d. hasbeen substantially dim inished in value;or

                   has been co-m ingled with other property which cannot be divided without

                   difficulty,




                                                10
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  theUnited StatesofAm erica shallbeentitled to forfeitureofsubstituteproperty pursuanttoTitle

  21,United StatesCode,Section 8531),asincop oratedby Title 18,United StatesCode,Section
  982(b)(1).
         A1lpursuanttoTitle18,UrlitedStatesCode,Section982(a)(7),andtheprocedtlressetforth
  in Title 21,Urlited States Code,Section 853,asincorporated by Title 18,Urtited States Code,

  Section982(b)(1).


                                                      <TJ-                : hv'
                                                                              .
                                                                              '
                                               JuM ANTONIO GONZALEZ
                                               A CTFN G UN ITED STA TES A TTORN EY


                                               ALLAN M ED IN A
                                               DEPU TY CH IEF
                                               CRIM IN A L D IV ISION ,FR AU D SECTION
                                               u .s.D EPAR TM EN T OF JU STICE


                                                                    1
                                               PA TRIC J. EE AN
                                               TRIAL A TTORN EY
                                               CRIM m A L D IV ISION ,FR AU D SECTION
                                               U .S.D EPAR TM EN T O F JUSTICE




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                                            UNITED STATES DISTRICT COURT
                                           SO UTH ERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                                   CASE N O.

                                                            CERTIFICATE O F TRIA L ATTO RNEY.
GREGORY ORR,
                                                            Superseding CaseInform ation:
                            Defendant.         I
CourtDivision:(selectone)                                   New defendantts)          Yes       No
       M iami             KeyW est                          Numberofnew defendants
       FTL                W PB           FTP                Totalnum berofcounts

                1havecarefully considered the allegationsofthe indictment,the numberofdefendants,thenumberof
                probablewitnessesandthe legalcomplexitiesofthelndictm ent/hformation attachedhereto.
       2.       1 am aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                Courtin Setling theircalendarsand scheduling crim inaltrials under the m andate ofthe Speedy Trial
                Act,Title28 U.S.C.Section 3161.
       3.       lnterpreter:      (YesorNo)            No
                Listlanguage and/ordialect
       4.       Thiscasewilltake 0 daysforthepartiestotry.
                Please check appropriatecategory and typeofoffense listed below:
                (checkonlyone)                                     (Checkonlyone)

       I        0to5days                           ?               Petty
       11       6 to 10 days                                       M inor
       l1I      11to20days                                         M isdem.
       IV       21 to 60 days                                      Felony             ?'
       V        61daysandover
        6.      HasthiscasepreviouslybeentiledinthisDistrictCourt?                  (YesorNo)   No
         Ifyes:Judge                                        CaseNo.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeenfiledinthismatter?                (YesorNo)         XO
         Ifyes:M agistrate CaseN o.
         Relatedm iscellaneousnumbers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule20from theDistrictof
         lsthisapotentialdeathpenaltycase?(YesorNo)                   No
                Doesthiscaseoriginatefrom am atterpending in theCentralRegion oftheU.S.Attorney'sOffice
                priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                       Yes         No /
                Doesthiscaseoriginatefrom am atterpending in theNol-thern Region oftheU .S.Attorney'sOffice
                priortoAugust8,2014(M ag.JudgeShaniekMaynard)?                      Yes         No z'
                Doesthiscaseoriginate from am atterpending in theCentralRegion oftheU .S.Attorney'sOftice
                priortoOctober3,2019(M ag.JudgeJaredStrauss)?                       Yes         No ?'
                Doesthiscaseoriginate from am atlerpending inthe SouthernRegion oftheU .S.Attol
                                                                                              m ey'sOffice
                priortoNovember23,2020 (JudgeAileenM .Carmon)?                      Yes         No V
                                                                                            r

                                                                    PatrickQue nan
                                                                    ASSISTANT UNITED STATES ATTORNEY
 *penaltysheetts)attached                                           Coul
                                                                       'tID No.A5502715
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                            UN ITED STA TES D ISTR ICT C O U R T
                            SOUTH ERN DISTRICT OF FLORIDA


                                       PE NA LTY SH EET

  D efendant'sN am e:                 G R EG O RY O RR

  C ase N o:                                            - -




  Count#:

     Title 18.United StatesCodeeSection 371

     Conspiracy to Solicitand R eceive H ea1th Care K ickbacks

  RM ax Penaltv:     Five(5)years'imprisonm ent
  Count#: 2

     Title42.United StatesCode.Section 1320a-7b(b)(1)(A)

     ReceiptofKickbacksin Connection with aFederalHealth CareProzram

  WM ax Penaltv:     Ten (10)years'imprisonm ent
  Cotmt#:




  *M ax Penalty:

  Count#:




  ''M ax Penalty:

 *R efersonly to possible term ofincarceration,does not include possible fines,restitution,
 specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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AO455(Rev.01/09)Wai
                  verofanIndictment

                              U NITED STATESD ISTRICT C OURT
                                                   forthe
                                          Southem DistrictofFlorida

              United StatesofAmerica
                         V.                                 CaseNo.




                                       W AW ER OF AN G DICTM ENT

       lunderstand that1havebeen accused ofoneorm oreoffensespunishable by imprisonmentformorethan one
year. 1wasadvised in open courtofmy rightsand the natureoftheproposed chargesagainstm e.

        Afterreceivingthisadvice,Iwaivemy rightto prosecution by indictmentand consentto prosecution by
information.




                                                                             Defendant'
                                                                                      ssignature



                                                                        Signatureofdefendant'
                                                                                            .
                                                                                            çattorney


                                                                       Printednameofde#ndant'
                                                                                            sattolmey


                                                                               Jif
                                                                                 Jgc'
                                                                                    ssignature


                                                                          Judge'
                                                                               sprinted nalneand title
